                                  UNITED STATES JUDICIAL PANEL
                                               on
                                   MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                       (SEE ATTACHED SCHEDULE)



                          CONDITIONAL TRANSFER ORDER (CTO í67)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,128 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                FOR THE PANEL:



                   Nov 27, 2018
                                                                Jeffery N. Lüthi
                                                                Clerk of the Panel




         I hereby certify that this instrument is a true and correct copy of
         the original on file in my office. Attest: Sandy Opacich, Clerk
         U.S. District Court, Northern District of Ohio
         By: /s/Robert Pitts
         Deputy Clerk
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                   MDL No. 2804



                    SCHEDULE CTOí67 í TAGíALONG ACTIONS



 DIST        DIV.      C.A.NO.      CASE CAPTION


ALASKA

                                    Tanana Chiefs Conference et al v. Purdue Pharma L.P.
  AK           3      18í00260      et al

GEORGIA NORTHERN

  GAN          3      18í00131      Carroll County v. Purdue Pharma L.P. et al

IDAHO

   ID          1      18í00479      Canyon County v. Purdue Pharma LP et al

KENTUCKY WESTERN

                                    Green County Fiscal Court v. AmerisourceBergen Drug
 KYW           1      18í00158      Corporation et al
                                    Breckinridge County Fiscal Court v.
 KYW           3      18í00714      AmerisourceBergen Drug Corporation et al
                                    Hardin County Fiscal Court v. AmerisourceBergen Drug
 KYW           3      18í00715      Corporation et al
                                    Meade County Fiscal Court v. AmerisourceBergen Drug
 KYW           3      18í00716      Corporation et al
                                    City of Henderson Kentucky v. AmerisourceBergen
 KYW           4      18í00169      Drug Corporation et al

MISSISSIPPI NORTHERN

  MSN          4      18í00212      County of Grenada v. Purdue Pharma L.P. et al

MISSOURI EASTERN

  MOE          4      18í01882      City of St. Louis v. Purdue Pharma, L.P. et al

NORTH CAROLINA EASTERN

  NCE          5      18í00517      Wilk v. Purdue Pharma L.P., et al

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OREGON

  OR          3 18í01911 Reynolds v. Purdue Pharma L.P. et al

UTAH

  UT          2        18í00863        Carbon County v. Purdue Pharma LP et al

WEST VIRGINIA SOUTHERN

 WVS          2        18í01390        Riling et al v. Purdue Pharma L.P. et al Opposed 11/26/18
                                       The Town of Gauley Bridge, West Virginia v.
 WVS          2        18í01392        AmerisourceBergen Drug Corporation et al




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